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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                       §
    In re:                                             §          Chapter 11
                                                       §
    NPC INTERNATIONAL, INC., et. al.,                  §          Case No. 20-33353 (DRJ)
                                                       §
                           Debtors. 1                  §          (Jointly Administered)
                                                       §



MOTION OF FOURTH ENTERPRISES, LLC FOR ALLOWANCE AND PAYMENT OF
    ADMINISTRATIVE EXPENSE CLAIM FOR POST-PETITION SERVICES

             THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
             YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
             CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU
             AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
             RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
             FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE
             THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY
             THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A
             TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
             FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND
             HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE
             HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE COURT
             MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
             THE MOTION AT THE HEARING.

             REPRESENTED           PARTIES          SHOULD           ACT        THROUGH            THEIR
             ATTORNEY.

TO THE HONORABLE DAVID R. JONES,
UNITED STATES BANKRUPTCY JUDGE:

             Fourth Enterprises, LLC (formerly known as Red Book Connect, LLC d/b/a


1
 1 The “Debtors” in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: NPC International, Inc. (“NPC”) (7298); NPC Restaurant Holdings I LLC (0595); NPC Restaurant
Holdings II LLC (0595); NPC Holdings, Inc. (6451); NPC International Holdings, LLC; (8234); NPC Restaurant
Holdings, LLC (9045); NPC Operating Company B, Inc. (6498); and NPC Quality Burgers, Inc. (6457). Debtors’
corporate headquarters and service address is 4200 W. 115th Street, Suite 200, Leawood, KS 66211.


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HotSchedules) (“HotSchedules”), a creditor in the above-entitled and numbered case,

respectfully submits this Motion for Allowance and Payment of Administrative Expense Claim for

Post-Petition Services (the “Motion”) and requests entry of an order pursuant to 11 U.S.C. §§

105, 503, and 365 directing the allowance and payment of HotSchedules’ administrative expense

claim in the amount of $779.89. In support of the relief requested, HotSchedules respectfully

shows the Court as follows:

                                     I. JURISDICTION

       1.      Under 28 U.S.C. §§ 157 and 1334, the Court has jurisdiction over the Motion and

relief requested herein. Pursuant to 28 U.S.C. §§ 157(b)(2)(A), (B), and (O), this Motion presents

a core proceeding.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The statutory basis for the relief requested includes 11 U.S.C. §§ 503, 507(a)(2).

                                     II. BACKGROUND

       4.     On July 1, 2020 (the “Petition Date”), NPC International, Inc. and various

related entities (collectively, the “Debtors”) filed a voluntary petition for relief under

Chapter 11 of Title 11 of the United States Bankruptcy Code. Prior to the Petition Date,

on or about March 5, 2021, HotSchedules and the Debtors entered into an agreement

wherein HotSchedules agreed to provide additional shipments of the Debtors’ current

books used in the ordinary course of business.         Debtors, in turn, agreed to pay

HotSchedules the monthly fees and charges pursuant to the agreement for such services.

       5.      On April 1, 2021, the Court entered a Notice of (1) Entry of Order

Confirming Joint Chapter 11 Plan of NPC International Inc. and Its Affiliated Debtors,

(II) Occurrence of Effective Date, (III) Administrative Expense Claim Bar Date, and (IV)



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Driver Claimant Admin Bar Date, which sets forth the deadline of May 17, 2021 for

asserting administrative expense claims arising on or before July 1, 2020 and through the

effective date. [Doc. No. 1643].

       6.      Since the Petition Date, and pursuant to the agreement, HotSchedules has

continued to supply the current books to the Debtors for use in Debtors’ ordinary course

of business. Although Debtors have enjoyed the benefit of HotSchedules’ services, the

Debtors have failed to pay for certain post-petition expenses. As of the date of this

Motion, the Debtors owe HotSchedules a total of $779.89 (the “Administrative Expense

Claim”). Attached hereto as Exhibit A are true and correct copies of the invoices, dated

March 5, 2021 through April 30, 2021, reflecting the amount due and owing to

HotSchedules for Debtors’ post-petition expenses of the additional books used in their

ordinary course of business.

       7.      HotSchedules reserves the right to seek payment of this post-petition

administrative expense amount as well as any additional post-petition administrative

expense amount that may come due after July 1, 2020 at a later date.

              III. RELIEF REQUESTED AND BASIS FOR RELIEF

       8.      By this Motion, HotSchedules seeks allowance and payment of $779.89 as

an administrative expense pursuant to § 503(b)(1)(A) of the Bankruptcy Code for services

provided to Debtors in the ordinary course of business after the Petition Date.

       9.      The Bankruptcy Code provides that “the actual, necessary costs and

expenses of preserving the estate” are characterized as administrative expenses and are

entitled to priority. 11 U.S.C. §§ 503(b)(1)(A) and 507(a)(2). Administrative priority is

given to post-petition vendors as an inducement to engage in business transactions with a



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debtor’s estate. Matter of TransAmerican Nat. Gas Corp., 978 F.2d 1409, 1416, reh’g

denied, 983 F.2d 1060 (5th Cir. 1993).

        10.     A request for payment qualifies as an administrative expense claim

pursuant to Section 503 if it arose post-petition and results in a direct benefit to the estate.

In re Jack/Wade Drilling, Inc., 258 F.3d 385, 387 (5th Cir. 2001). A debt is incurred on

the date that a debtor becomes liable for it or “when . . . a resource is consumed.” Matter

of Emerald Oil Co., 695 F.2d 833, 837 (5th Cir. 1983). Further, in order for an obligation

to qualify as an actual and necessary cost, the obligation: (1) must have arisen from a

transaction with the estate; and (2) the goods supplied enhanced the ability of the estate’s

business to function. In re TransAmerican Natural Gas Corp., 978 F.2d 1409, 1416 (5th

Cir. 1992).

        11.     After the Petition Date, HotSchedules continued to provide post-petition

services to the Debtors, as evidence by the attached invoices. See Exhibit A. Because the

additional shipments for current books were provided to the Debtors after the Petition

Date, the debt is a post-petition debt. Further, the cost of those shipments constitutes an

actual and necessary cost of preserving the Debtors’ estates, because the additional

shipments for current books have allowed the Debtors to continue their operations,

generate income during their bankruptcy, and preserve key customer relationships.

        12.     HotSchedules is therefore entitled, pursuant to § 503(b)(1)(A) of the

Bankruptcy Code, to an administrative expense claim in the amount of $779.89 on account

of the additional shipments for Debtors’ current books provided by HotSchedules to

Debtors after the Petition Date.

        13.     In addition to requesting an order allowing the Administrative Expense


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 Claim in the amount set forth herein, HotSchedules also requests that the Court order

 Debtors to pay the Administrative Expense Claim within ten (10) days of an order granting

 this Motion. The timing of payment of an administrative expense claim under § 503(b) is

 a matter within the Court’s discretion. In re NE Opco, Inc., 501 B.R. 233, 259 (Bank. D.

 Del. 2013); In re Garden Ridge Corp., 323 B.R. 136, 143 (Bankr. D. Del. 2005); In re Mr.

 Gatti’s, Inc., 164 B.R. 929, 936 (Bankr. W.D. Tex. 1994).

                               IV. RESERVATION OF RIGHTS

        14.     HotSchedules reserves the right to amend or supplement this Motion to

 assert additional administrative expense claims against the Debtors.

                                  V. NO PRIOR REQUEST

        15.     No previous motion or request for the relief sought herein has been made

 to this or any other Court.

                                     VI. CONCLUSION

       WHEREFORE, HotSchedules respectfully requests that this Court enter an order

(i) allowing HotSchedules’ administrative expense claim pursuant to § 503(b)(1)(A) of

thBankruptcy Code with respect to the software subscription and support services in the

amount of $779.89 and (ii) granting HotSchedules such other and further relief as is just

and proper.




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Dated: May 17, 2021

                                              Respectfully submitted,


                                              By: /s/ Sabrina L. Streusand
                                              Sabrina L. Streusand
                                              State Bar No. 11701700
                                              Anh Nguyen
                                              State Bar No. 24079053
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                                              streusand@slollp.com
                                              nguyen@slollp.com

                                              ATTORNEYS FOR
                                              FOURTH ENTERPRISES, LLC




                               CERTIFICATE OF SERVICE
      I hereby certify that on May 17, 2021 a true and correct copy of the foregoing
document was served on those parties entitled to notice through the Court’s Electronic
Case Filing System, including, but not limited to, the following:


             Alfredo R Perez                             Hector Duran, Jr.
             Weil Gotshal et al                          U.S. Trustee
             700 Louisiana, Ste. 1700                    515 Rusk, Ste. 3516
             Houston, TX 77002                           Houston, TX 77002

                                                         Stephen Douglas Statham
                                                         Office of the US Trustee
                                                         515 Rusk, Ste. 3516
                                                         Houston, TX 77002




                                           /s/ Sabrina L. Streusand
                                           Sabrina L. Streusand


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                                                             Exhibit A
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                                                             Exhibit A
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                                                             Exhibit A
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                                                             Exhibit A
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                                                             Exhibit A
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                       §
    In re:                                             §          Chapter 11
                                                       §
    NPC INTERNATIONAL, INC., et. al.,                  §          Case No. 20-33353 (DRJ)
                                                       §
                           Debtors.1                   §          (Jointly Administered)
                                                       §

                  ORDER GRANTING MOTION OF FOURTH ENTERPRISES, LLC FOR
                     ALLOWANCE AND PAYMENT OF ADMINISTRATIVE
                        EXPENSE CLAIM FOR POST-PETITION SERVICES

             This matter is before the Court on the Motion of Fourth Enterprises, LLC for Allowance

And Payment Of Administrative Expense Claim Pursuant to 11 U.S.C. § 503(b)(9) (the

“Administrative Request”) filed by Fourth Enterprises, LLC (formerly known as Red Book

Connect, LLC d/b/a HotSchedules) (“HotSchedules”). The Court now finds that sufficient notice

of the Motion having been provided under the particular circumstances, and it appearing that no

other or further notice need be provided; and the Court having determined the legal and factual

bases set forth in the Motion establish just cause for the relief granted herein; and after due

deliberation and sufficient cause appearing therefore, it is HEREBY ORDERED THAT:

             1.     The relief requested in the Motion is GRANTED.

             2.     HotSchedules is allowed a Chapter 11 administrative expense claim in the

bankruptcy case of NPC International, Inc. and various related entities (collectively the “Debtors”)

in the amount of $779.89.



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 1 The “Debtors” in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: NPC International, Inc. (“NPC”) (7298); NPC Restaurant Holdings I LLC (0595); NPC Restaurant
Holdings II LLC (0595); NPC Holdings, Inc. (6451); NPC International Holdings, LLC; (8234); NPC Restaurant
Holdings, LLC (9045); NPC Operating Company B, Inc. (6498); and NPC Quality Burgers, Inc. (6457). Debtors’
corporate headquarters and service address is 4200 W. 115th Street, Suite 200, Leawood, KS 66211.


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         3.        Debtors are directed to pay the allowed Chapter 11 administrative expense claim in

the amount of $779.89 within ten (10) days of entry of this Order.

         4.        This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation or interpretation of this Order.



         SIGNED this _____ day of _______________, 2021.



                                                   __________________________________
                                                   THE HONORABLE DAVID R. JONES




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